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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8   UNITED STATES OF AMERICA,                            NO. MJ15-59
 9
                                   Plaintiff,
10
            v.
11                                                        DETENTION ORDER
     SEFERINO PASTRANO,
12
                                   Defendant.
13

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     Offenses charged:
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            Possession of Heroin with Intent to Distribute
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17   Date of Detention Hearing: February 19, 2015.
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
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     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
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20          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that

22                  defendant is a flight risk and a danger to the community based on the nature of

23                  the pending charges. Application of the presumption is appropriate in this case.

24          2.      Defendant has significant family ties to Mexico.

25          3.      Defendant is associated with 9 aliases.

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 1         4.    The evidence against the defendant, although the least significant factor, is very

 2               strong.

 3         5.    There are no conditions or combination of conditions other than detention that

 4               will reasonably assure the appearance of defendant as required or ensure the

 5               safety of the community.

 6         IT IS THEREFORE ORDERED:
 7         (1)   Defendant shall be detained and shall be committed to the custody of the
 8               Attorney General for confinement in a correction facility separate, to the extent
 9               practicable, from persons awaiting or serving sentences or being held in custody
10               pending appeal;
11         (2)   Defendant shall be afforded reasonable opportunity for private consultation with
12               counsel;
13         (3)   On order of a court of the United States or on request of an attorney for the
14               government, the person in charge of the corrections facility in which defendant
15               is confined shall deliver the defendant to a United States Marshal for the
16               purpose of an appearance in connection with a court proceeding; and
17         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
18               counsel for the defendant, to the United States Marshal, and to the United States
19               Pretrial Services Officer.
20         DATED this 19th day of February, 2015.
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                                               AJAMES P. DONOHUE
23                                              United States Magistrate Judge

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     18 U.S.C. § 3142(i)
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